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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO. 21-474
v: : DATE FILED:
JOHN MURRAY ROWE, JR. : VIOLATIONS:

18 U.S.C. § 794(a)

(Attempted Delivery of National
Defense Information to a
Foreign Government — 1 count)
18 U.S.C. § 793(d)

(Willful Communication of
National Defense Information — 3
counts)

SUPERSEDING INDICTMENT

COUNT ONE
(Attempted Delivery of National Defense Information to Aid Foreign Government)

THE GRAND JURY CHARGES THAT:

Background

Ll. At all times relevant to this Indictment:
a. Defendant JOHN MURRAY ROWE, JR. (“ROWE”) was a citizen of the
United States. Defendant ROWE graduated from a United States university in or about 1980 with
a Bachelor of Science in Engineering Technology.
b. From approximately 1980 to 2018, defendant ROWE was employed as a
test engineer for multiple companies. The majority of these companies were cleared defense

contractors (“CDCs”) that had been granted a facility security clearance by the United States
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Department of Defense (“DoD”) to access, receive, or store classified information for the purpose
of bidding for a contract or conducting activities in support of DoD programs.

c The United States Air Force (“USAF”) was a military branch of the DoD
that provided offensive and defensive air operations. Among USAF’s core missions was Air and
Space Superiority, which included establishing and maintaining control of the skies over conflict
areas and allowing U.S. forces to operate at the times and places of their choosing. USAF systems
also provided direct support to ground forces, particularly in helping to identify and destroy time-
critical targets.

Classified Information

ea Pursuant to Executive Order 12958 signed on April 17, 1995, as amended by
Executive Order 13292 on March 25, 2003, and Executive Order 13526 on December 29, 2009,
national security information was- classified as “TOP SECRET,’ “SECRET,” or
“CONFIDENTIAL.” National security information was information owned by, produced by,
produced for, and under the control of the United States government that was classified as fillows:

a. Information was classified as TOP SECRET if the unauthorized disclosure
of that information reasonably could be expected to cause exceptionally grave damage to the
national security that the original classification authority was able to identify and describe.

b. Information was classified as SECRET if the unauthorized disclosure of that
information reasonably could be expected to cause serious damage to the national security that the
original classification authority was able to identify and describe.

é. Information was classified as CONFIDENTIAL if the unauthorized
disclosure of that information reasonably could be expected to cause damage to the national

security that the original classification authority was able to identify and describe.
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3 Access to national security information classified at any level could be further
restricted through designation in SENSITIVE COMPARTMENTED INFORMATION (“SCI”)
categories. Only individuals with the appropriate security clearance and additional SCI
permissions could have authorized access to such classified national security information.

4. Information classified at any level could only be lawfully accessed by persons
determined by an appropriate United States government official to be eligible for access to the
classified information and to have a “need to know” the classified information. Classified
information could only be stored in an approved facility and container.

ROWE’s Access to Classified National Defense Information

5, In connection with his employment at CDCs, as set forth in paragraph 1b, defendant
ROWE held various security clearances ranging from SECRET to TOP SECRET//SCI. Because
ROWE held such security clearances, the United States government entrusted him with access to
sensitive government materials, including classified documents and materials, and information
relating to the national defense that was closely held by the government (“National Defense
Information” or “NDI”).

6. In November 2015, defendant ROWE began employment with a U.S. company
(“CDC-1”) on matters involving the USAF’s electronic warfare technology. In connection with
this employment, ROWE held a SECRET security clearance and had access to classified NDI.
Accordingly, on November 17, 2015, ROWE signed a Classified Information Nondisclosure
Agreement (“Form 312”) that stated, in pertinent part:

I have been advised that the unauthorized disclosure, unauthorized retention, or

negligent handling of classified information by me could cause damage or

irreparable injury to the United States or be used to advantage by a foreign nation.

I hereby agree that I will never divulge classified information to anyone unless (a)
I have officially verified that the recipient has been properly authorized by the
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United States Government to receive it; or (b) I have been given prior written
notice of authorization from the United States Government ...

... [have been advised that any unauthorized disclosure of classified information
by me may constitute a violation, or violations, of United States criminal laws,
including the provisions of Sections 641, 793, 794...

...1 understand that all conditions and obligations imposed upon me by this
Agreement apply during the time I am granted access to classified information,

and at all times thereafter.

The FBI Undercover Operation

i. On or about March 9, 2020, in Lead, South Dakota, defendant ROWE was
approached in person by an FBI employee operating in a covert capacity (“UCE-1”) and posing as
an agent of the Russian government. After a brief discussion, ROWE agreed to meet UCE-1 at a
nearby hotel in Deadwood, South Dakota to discuss employment opportunities.

8. During the meeting at the hotel (the “March Meeting”), defendant ROWE made
multiple disclosures of classified NDI to UCE-1 concerning the USAF.

9. Following the March Meeting, defendant ROWE began communicating via email
with another FBI employee (UCE-2”) located in Philadelphia, Pennsylvania, who was posing as
the same Russian agent. From March 2020 to November 2020, ROWE exchanged over 300 emails
with UCE-2, confirming his willingness to work for the Russian government, discussing his
knowledge of classified NDI, demonstrating his awareness of proper classified information
security protocols, and explaining his use of tradecraft to conceal his relationship with the Russian
agent.

10. On or about May 8, 2020, defendant ROWE wrote an email to UCE-2, who was
located in Philadelphia, Pennsylvania, in which he disclosed classified NDI concerning specific
operating details of the electronic countermeasure systems used by U.S. military fighter jets. A

subject matter expert within the USAF confirmed that the information disclosed by ROWE was
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classified at the SECRET level, meaning its unauthorized disclosure reasonably could be
expected to cause serious damage to national security. Representatives from CDC-1 advised
that, while working at CDC-1, ROWE had a “need-to-know” and access to classified information
concerning the electronic countermeasure systems used by U.S. military fighter jets.

The Attempted Delivery

11. On or about May 8, 2020, in the Eastern District of Pennsylvania, and elsewhere,

defendant
JOHN MURRAY ROWE, JR.

did knowingly and unlawfully attempt to communicate, deliver and transmit to a foreign
government, to wit, the Government of the Russian Federation and representatives, officers, and
agents thereof, both directly and indirectly, classified information relating to the national defense
of the United States, specifically, information classified at the SECRET level, with intent and
reason to believe that said information would be used to the injury of the United States and to the
advantage of a foreign nation.

All in violation of Title 18, United States Code, Section 794(a).
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COUNTS TWO THROUGH FOUR
(Willful Communication of National Defense Information)

THE GRAND JURY FURTHER CHARGES THAT:

di. Paragraphs 1 through 10 of Count One are incorporated by reference and realleged
as if set forth fully herein.

Z On or about October 25, 2022, defendant ROWE placed a telephone call to a family
member (“Relative-1”). During the telephone call, ROWE disclosed classified NDI concerning
specific operating details of the electronic countermeasure systems used by U.S. military fighter
jets. A subject matter expert within the USAF confirmed that the information disclosed by ROWE
was classified at the SECRET level, meaning its unauthorized disclosure reasonably could be
expected to cause serious damage to national security.

3. On or about November 6, 2022, defendant ROWE placed a telephone call to another
family member (“‘Relative-2”). During the telephone call, ROWE disclosed classified NDI
concerning specific operating details of the electronic countermeasure systems used by U.S.
military fighter jets. A subject matter expert within the USAF confirmed that the information
disclosed by ROWE was classified at the SECRET level, meaning its unauthorized disclosure
reasonably could be expected to cause serious damage to national security.

4, On or about December 4, 2022, defendant ROWE placed a telephone call to a
business acquaintance (“Associate-1”). During the telephone call, ROWE disclosed classified
NDI concerning specific operating details of the electronic countermeasure systems used by U.S.
military fighter jets. A subject matter expert within the USAF confirmed that the information
disclosed by ROWE was classified at the SECRET level, meaning its unauthorized disclosure

reasonably could be expected to cause serious damage to national security.
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The Communications

S. On or about the dates set forth below, in the Eastern District of Pennsylvania, and
elsewhere, defendant
JOHN MURRAY ROWE, JR.,
lawfully having been entrusted with information relating to the national defense of the United
States, which defendant ROWE had reason to believe could be used to the injury of the United
States and to the advantage of a foreign nation, willfully communicated, delivered, and transmitted
said information to a person not entitled to receive it, to wit, ROWE communicated information

classified at the SECRET level to the recipients set forth below:

COUNT | DATE | RECIPIENT
TWO -_ | October 25, 2022 | Relative-1
| THREE | November 6, 2022 | Relative-2 |
FOUR December 4, 2022 | Associate-|

All in violation of Title 18, United States Code. Section 793(d).

A TRUE BILL:

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JACQUELINE C. ROMERO
United States Attorney

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No. a

UNITED STATES DISTRICT COURT
Eastern District of Pennsylvania

Criminal Division

THE UNITED STATES OF AMERICA

JOHN MURRAY ROWE, JR.

SUPERSEDING INDICTMENT

Counts
18 U.S.C. § 794(a) (Attempted Delivery of National Defense Information to a Foreign Government — |
count)

18 U.S.C. § 793(d) (Willful Communication of National Defense Information — 3 counts)

Filed in open gourt this
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Bail, $
